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          In the United States Court of Federal Claims
                                         No. 17-1228C
                                          (Bid Protest)
                                   (Filed: February 9, 2018)1

*****************************
                            *                                   Post-Award Bid Protest;
WALDEN SECURITY,            *                                   Supplementation of
                            *                                   Administrative Record; Past
          Plaintiff,        *                                   Performance Evaluation; Too
                            *
                                                                Close-at-Hand Information;
          v.                *
                                                                Technical Evaluation;
                            *
THE UNITED STATES,          *                                   Injunctive Relief.
                            *
          Defendant,        *
                            *
          and               *
                            *
PARAGON SYSTEMS, INC.,      *
                            *
          Intervenor.       *
                            *
*****************************

    Jonathan D. Shaffer, Mary Pat Buckenmeyer, and Sean K. Griffin, Smith Pachter
McWhorter PLC, 800 Towers Crescent Drive, Suite 900, Tysons Corner, VA 22182, for Plaintiff.

       Chad A. Readler, Robert E. Kirschman, Jr., Douglas K. Mickle, and A. Bondurant Eley,
U.S. Department of Justice, Civil Division, Commercial Litigation Branch, P.O. Box 480, Ben
Franklin Station, Washington, D.C. 20044, for Defendant.

      Katherine S. Nucci and Scott F. Lane, Thompson Coburn LLP, 1909 K Street NW, Suite
600, Washington, D.C. 20006, for Intervenor.


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       The Court denied this protest orally on November 9, 2017. This opinion memorializes the
Court’s oral ruling.
        The Court issued this opinion under seal on November 29, 2017, and directed the parties
to file any proposed redactions by December 13, 2017. Intervenor timely filed its proposed
redactions. In response to the Court’s inquiry, Plaintiff and Defendant represented that they had
no additional redactions on February 9, 2018. The Court publishes this Opinion indicating
redactions by asterisks “[***].”
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             _________________________________________________________

        OPINION AND ORDER GRANTING DEFENDANT’S CROSS-MOTION
             FOR JUDGMENT ON THE ADMINISTRATIVE RECORD
           _________________________________________________________
WILLIAMS, Judge
        In this post-award bid protest, Plaintiff Walden Security (“Walden”) challenges the award
of contracts by the United States Marshals Service (“USMS”) to Intervenor Paragon Systems, Inc.
(“Paragon”) to provide Court Security Officers (“CSOs”) to courthouses in the 3rd and 4th
Circuits. This matter comes before the Court on the parties’ cross-motions for judgment on the
Administrative Record (“AR”).
       Walden contests the USMS’s award of the contract to Paragon on four grounds:
       1) The USMS failed to properly evaluate Walden’s past performance by disregarding
          “close-at-hand” information pertinent to recent and relevant work;
       2) The USMS failed to properly evaluate Paragon’s past performance by determining that
          Paragon’s past performance was essentially equal to Walden’s;
       3) The USMS evaluated technical factors in an unreasonable, disparate, and unfair
          manner by placing undue weight on the purported technical strengths of Paragon’s
          proposal; and
       4) The USMS failed to perform a proper tradeoff analysis and best value determination,
          and treated different offerors in a disparate manner by failing to consider meaningful
          discriminators contrary to the Competition in Contracting Act and the Federal
          Acquisition Regulation (“FAR”).
Walden asks the Court to direct the USMS to award the contracts to Walden or, in the alternative,
to re-evaluate Walden’s and Paragon’s past performance and technical proposals and to make a
new best value determination.
      Because the agency’s decision was reasonable, documented, and in accordance with the
Request for Proposals (“RFP”) and applicable procurement law, Walden’s protest is DENIED.
                                           Findings of Fact2

The Solicitation
      On April 22, 2016, the United States Marshals Service Office of Security Contracts issued
RFP number DJM-16-A32-R-0001 for non-commercial armed security guard court services for


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        These findings of fact are derived from the Administrative Record (“AR”). Additional
findings of fact are in the Discussion. The Court does not correct grammatical or typographical
errors in quotations from the record.


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the 3rd, 4th, and 12th3 Judicial Circuits. AR 301-02. The USMS is responsible for managing and
developing a nationwide program to provide for the physical security of the federal judiciary. AR
309. To accomplish its mission of courthouse security, the USMS contracts with private security
contractors, whose employees are deputized as Special Deputy U.S. Marshals while serving as
CSOs. AR 309.
        The Solicitation was amended four times—on May 9, May 12, May 13, and finally on May
16, 2016. AR 1127, 1294, 1318, 1342. The procurement was conducted under FAR Part 15 for
an indefinite delivery, indefinite quantity (“IDIQ”) time and materials/labor hour contract, with a
one-year base period and four one-year option periods. AR 302. The award was to be made on
the basis of best value to the Government. AR 471-72. Under the solicitation, an offeror’s
technical capability and past performance would be considered “to be approximately equal to each
other and when combined to be significantly more important than price.” AR 471.
       The best value determination was to be made as follows:
       1) For each Circuit, the total evaluated price will be the determining factor for
       award among proposals that are considered substantially equal with regards to non-
       price factors. That is, where the USMS determines that the non-price factors of
       each offeror are not significantly different among competing proposals, then the
       proposal with the lowest evaluated price will be selected for award.

       2) If the USMS determines that there are significant non-price factor differences
       among competitive proposals for each Circuit, then a more expensive proposal may
       be selected for award where the USMS determines that the value of the selected
       proposal is worth the price differential.
AR 472.
        Offerors were instructed to submit a technical proposal and financial information covering
all circuits proposed and a business proposal for each individual circuit proposed. AR 453. As
part of the business proposal, offerors were able to provide information on past and current
contracts and on any problems and corrective action taken on these contracts. AR 459. For the
technical proposal, offerors were required to address three evaluation factors of equal value: (1)
Recruitment Program and Vetting Applicants, (2) Training and Qualifications Program, and (3)
Quality Assurance/Quality Control Plans. AR 455-57. These factors were to be evaluated using
the Adjectival Color Rating Scheme, set forth below:

     Adjective            Color                               Definition
    Exceptional            Blue         Satisfies all Government requirements with extensive
                                        detail to indicate a thorough understanding of the
                                        technical factor and how it relates to successful
                                        performance of the contract, and offers numerous
                                        significant strengths, which are not offset by

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      In the USMS’ nomenclature, the 12th Circuit refers to the federal courts in the District of
Columbia. AR 302.
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                                       weaknesses, with an overall low degree of risk in
                                       meeting the Government’s requirements.
   Very Good             Green         Satisfies all Government requirements with ample
                                       detail to indicate a good understanding of the technical
                                       factor and how it relates to successful performance of
                                       the contract, and offers some significant strengths,
                                       which are not offset by weaknesses, with a low degree
                                       of risk in meeting the Government’s requirements.
   Satisfactory         Yellow         Satisfies all Government requirements with sufficient
                                       detail to indicate a reasonable understanding of the
                                       technical factor and how it relates to successful
                                       performance of the contract, with a moderate degree of
                                       risk in meeting the Government’s requirements.
    Marginal            Orange         Satisfies some Government requirements with little
                                       detail to indicate a minimal understanding of the
                                       technical factor and how it relates to successful
                                       performance of the contract, with an overall high
                                       degree of risk in meeting the Government’s
                                       requirements.
  Unsatisfactory          Red          Proposal contains a major error, omission, or deficiency
                                       that indicates a lack of understanding of the technical
                                       factor and cannot be cured without materially altering
                                       the technical elements of the proposal.


AR 473.
      The technical factors were to be evaluated under the following criteria:

      Factor 1: Recruitment Program and Vetting Applicants

      The Government requires a timely multi-faceted and systematic recruitment
      program that independently verifies and filters potential applicants and provides
      qualified CSOs capable of meeting the CSO/LCSO Qualifications Standards
      required under SOW C.4.1 [providing the minimum qualifications for a CSO].

      At a minimum, the offeror shall acknowledge all qualification and vetting
      requirements and provide a separate written draft Standard Operating Procedures
      that describe specific processes used to independently verify all minimum
      qualifications, and demonstrate how the offeror intends to provide comprehensive
      oversight and quality control through recruiting, vetting, selecting and submitting
      the best qualified applicants from a pool of candidates. (See Section L.5.2.1, Factor
      1)




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       Factor 2: Training and Qualifications

       The Government requires an effective and efficient high quality continuous training
       program for CSOs/LCSOs performing under this contract.

       The SOW requires various types of training, lesson plans, certified instructors and
       weapons qualification instructors, various delivery methods including an
       established LMS capable of immediately supporting an approved training plan,
       advanced planning, various documentation and record maintenance. All types
       require a preapproved annual training plan.

       At a minimum, the offeror shall acknowledge all training administration, training
       and qualification requirements identified in the SOW, and provide a separate
       written draft Training Plan, draft sample Lesson Plan, training instructors’ and
       weapons qualification instructors’ narrative and LMS system information. (See
       Section L.5.2.1, Factor 2)

       Factor 3: Quality Assurance/Quality Control Plan (QCP)

       The Government requires the Contractor to have two efficient and effective Quality
       Assurance Programs to include two Quality Control Plans (QCPs) as required under
       SOW C.25 [outlining quality assurance requirements]. The first program/plan is a
       CSO QCP; the second is a Corporate QCP.

       At a minimum, the offeror shall discuss how their CSO QCP, Corporate QCP, and
       inspection procedures will ensure products, services, and contract administration in
       compliance with the terms of the SOW. The draft QCPs shall demonstrate an
       understanding of all the Government’s requirements set forth in this solicitation.
       The representation of corporate structure and should identify key personnel and
       their responsibilities related to contract management and oversight. (See Section
       L.5.2.1, Factor 3)

AR 473-74.
        The Government was to evaluate past performance under FAR 15.305(a)(2) on a similar
adjectival scale, looking to “(1) the evaluation references contacted by the offeror and (2) data
independently obtained from other government and commercial sources.” AR 475. Past
performance was deemed relevant if it was similar in scope, magnitude, and complexity to the
requirements of the RFP. AR 475. Past performance was to be evaluated on the following scale:

     Adjective            Color                               Definition
    Exceptional            Blue        The Government has a high expectation that the offeror
                                       will successfully perform the required effort.
    Very Good             Green        The Government has an above average expectation that
                                       the offeror will successfully perform the required
                                       effort.

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   Satisfactory          Yellow        The Government has a reasonable expectation that the
                                       offeror will successfully perform the required effort.
    Marginal             Orange        The Government has a below average expectation that
                                       the offeror will successfully perform the required
                                       effort.
  Unsatisfactory          Red          The Government has a low expectation that the offeror
                                       will successfully perform the required effort.
     Neutral              Gray         No recent/relevant performance record is available or
                                       the offeror’s performance record is so sparse that no
                                       meaningful assessment rating can be reasonable
                                       assigned.


AR 475.
      With respect to the evaluation of past performance, the RFP provided in relevant part:
      Past performance will be evaluated in accordance with FAR Subpart 15.305(a)(2)
      Past Performance Evaluation. Past performance information is one indicator of an
      offeror’s ability to perform the contract successfully. The currency and relevance
      of the information, source of the information, context of the data, and general trends
      in contractor’s performance will be considered. The evaluation may consider
      information provided by the program office, the contracting office, and end users.
      The Government will use past performance information registered in the Past
      Performance Information Retrieval System (PPIRS) and the Federal Awardee
      Performance and Integrity Information System (FAPIIS). Additionally, the
      Government reserves the right to utilize all information available at the time of
      evaluation, e.g., Government audits, information made available through reference
      checks, and information available through commercial sources.

      The offeror may provide information on past or current contracts (Federal, State,
      and local government and commercial) for efforts similar to the Government
      requirement performed during the last three years (maximum) in accordance with
      FAR Subpart 42.1503(g).

                                        *       *       *
      The offeror may provide information on problems encountered on the identified
      contracts and the offeror’s corrective actions.

                                        *       *       *
      Offerors will be given an opportunity to address adverse past performance
      information to which the offeror has not previously had an opportunity to respond.
      The burden of providing thorough and complete past performance information
      remains with the offeror . . . . Should the Offeror not have three (3) relevant



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       contracts that are of similar size and scope to the requirements of this solicitation,
       the Contractor shall provide additional relevant references.
       The Government does not assume the duty to search for data that cures the problems
       found in the information provided by the offeror. The burden of providing thorough
       and complete past performance information remains with the offeror.
AR 458-59.
       Proposals were due on May 23, 2016. AR 463.

Proposals, Evaluation of Proposals, and Initial Award
       Ten companies submitted proposals and received the following ratings:

                  Past Performance                                        RATING
 Akal Security, Inc.                                                 Very Good [Green]
 Alutiiq Diversified Services, LLC                                  Satisfactory [Yellow]
 American Eagle Protective Services Corp. (AEPS)                    Satisfactory [Yellow]
 American Security Programs, Inc.                                    Very Good [Green]
 Centerra Group, LLC                                                 Very Good [Green]
 Inter-Con Security Systems, Inc.                                    Very Good [Green]
 Paragon Systems, Inc.                                               Very Good [Green]
 Project Support Services, Inc.                                        Neutral [Gray]
 Walden Security                                                     Very Good [Green]
 The Whitestone Group                                                Marginal [Orange]


AR 3090.

             Offeror              Factor 1        Factor 2           Factor 3         Consensus
 AEPS                              Yellow            Yellow           Yellow            Yellow
 Akal Security                     Yellow            Green            Green             Green
 Alutiiq                           Green             Yellow           Yellow            Yellow
 American Security Programs        Green             Yellow           Green             Green
 Centerra                          Green             Green            Green             Green
 Inter-Con Security                Green             Green            Green             Green
 Paragon Systems                    Blue             Green            Green             Green
 PSS                               Yellow            Green            Green             Green
 Walden Security                   Green             Green            Green             Green
 The Whitestone Group              Yellow            Yellow           Yellow            Yellow


AR 2476 (“Final Report of the Technical Evaluation Board”).



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       Walden’s past performance was awarded a rating of Green – Very Good. AR 3113. The
Past Performance Report prepared by the USMS stated:
          Walden’s contract files evidence a historical narrative of program improvement,
          full compliance with all contract requirements, and full compliance with terms and
          conditions. Walden’s CSO Program contract transition for the 1st, 5th and 8th
          Circuits was fully compliant. However, since the acquisition of these three
          additional circuits the USMS program offices have observed some difficulty from
          Walden in some areas of program administration, most especially in processing
          applicant packages and medical qualification information on deadline.

AR 3114.4 In addition to its CSO contracts, Walden provided a contract with the Center for
Disease Control and Prevention (“CDC”) and a non-federal contract with the state of Tennessee
as past performance references. AR 3113-14. The CO for the CDC contract rated Walden as
“exceptional” in all categories. AR 3114. Walden was also rated “exceptional” across the board
for its Tennessee contract. Id. The source for the Tennessee contract described Walden as
“surpass[ing] my expectations as well as the expectations of leadership . . . they are highly capable
of managing their contracts.” AR 3114-15.
       Paragon’s past performance was also evaluated as Green – Very Good. AR 3110. Paragon
provided CSO experience as part of a joint venture with American Eagle Protective Services called
American Paragon Protective Services. AR 3111. Paragon additionally provided as references a
contract with the Department of Homeland Security and one with the Department of Health and
Human Services. With regard to the CSO contract, Paragon had “no notable performance issues
for FY2015-Present.” Id. This was a performance improvement trend from FY2013-2014. Id.
        After reviewing the proposals submitted by the ten contractors, the USMS narrowed the
field to the three top proposals, submitted by Walden, Paragon, and Akal Security. These three
offerors obtained the highest adjectival scores for technical and past performance while offering
slightly differing prices.5 The proposed prices were as follows:

    Circuit 3 - Offerors   Total Proposed    Differential –      Differential –       Price Position
                                Price        Dollar Amount      Percentage From
                                                               Lower Priced Offer
    Walden Security        $138,834,184.50                                            Lowest
    Akal Security          $138,976,998.08 $142,813.58                0.10%           2nd Lowest
    Paragon Systems        $139,025,117.82 $190,933.32                0.14%           3rd Lowest




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       For fiscal years 2013 and 2014, Walden held a CSO contract for the 4th Circuit. In fiscal
year 2015, Walden added an additional contract for the 6th Circuit. Starting in fiscal year 2016,
Walden added three additional Circuits, the 1st, 5th, and 8th. AR 3113-14.
5
       Other offerors also received an overall rating of “Good” for technical and an overall rating
of “Very Good” for past performance but were not considered due to price.
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 Circuit 4 - Offerors   Total Proposed        Differential –       Differential –      Price Position
                             Price            Dollar Amount       Percentage From
                                                                 Lower Priced Offer
 Akal Security          $206,451,574.41                                                Lowest
 Walden Security        $207,717,865.30 $1,266,290.89                  0.61%           2nd Lowest
 Paragon Systems        $207,775,949.06 $1,324,374.65                  0.64%           3rd Lowest


AR 3128. Walden proposed the lowest price for the 3rd Circuit, and the second lowest price for
the 4th Circuit. Paragon’s proposed price was 0.14% higher for the 3rd Circuit and 0.03% higher
for the 4th Circuit.
        Based on all of the criteria in the RFP, Walden, Paragon, and Akal were ranked as follows:

3rd Circuit Ranking

     Ranking       Offerors           Overall               Overall Past        Total
                                     Technical              Performance
 1             Paragon Systems      GOOD [Green]         VERY GOOD [Green] $139,025,117.82
 2             Walden Security      GOOD [Green]         VERY GOOD [Green] $138,834,184.50
 3             Akal Security        GOOD [Green]         VERY GOOD [Green] $138,976,998.08


4th Circuit Ranking

     Ranking       Offerors             Overall             Overall Past        Total
                                       Technical            Performance
 1             Paragon Systems          GOOD             VERY GOOD [Green] $207,775,949.06
 2             Akal Security            GOOD             VERY GOOD [Green] $206,451,574.41
 3             Walden Security          GOOD             VERY GOOD [Green] $207,717,865.30


AR 3129.
        On July 13, 2016, the USMS awarded the contracts for the 3rd, 4th, and 12th Circuits to
Paragon. AR 3232. In the source selection decision, the agency identified Paragon’s proposal as
generating the best value to the Government based on the “the Technical Evaluation Board (TEB)
reports, past performance, and price analysis documents, and Negotiated Memorandum dated June
29, 2016.” AR 3232. The Negotiated Memorandum rated Paragon and Walden’s non-price
proposals as follows:

                            Factor:1             Factor:2            Factor: 3          Consensus
                        Recruitment Program     Training and           Quality
                            and Vetting         Qualifications    Assurance/Quality
                             Applicants           Program         Control Plan (QCP)
 Paragon Systems         Excellent [Blue]      Good [Green]        Good [Green]        Good [Green]
 Walden Security          Good [Green]         Good [Green]        Good [Green]        Good [Green]



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AR 3136.
        The agency rated Paragon as “Excellent” under Technical Factor 1 on the strength of its
proposal to “[***].” AR 3232. These advantages would allow Paragon the greatest chance of
“select[ing] and develop[ing] those candidates that will succeed in the CSO positions.” Id. For
the 3rd Circuit, Paragon’s proposed price of $139,025,117.82 was about .14% higher than
Walden’s. In the view of the USMS, the “superiority of Paragon’s technical proposal over that of
Walden’s justifie[d] selecting Paragon Security for this extremely small price premium.” AR
3145. For the 4th Circuit, “[b]ecause Paragon has numerous strengths in Factor 1 of the technical
evaluation, the strengths [were] substantial and enough to offset the justification of paying .61%
more than Walden.” AR 3146. The CO concluded:
       [T]he following award recommendations represent the best value to the
       Government overall, considering technical, price, financial responsibility and
       whose offerors are otherwise responsible and eligible for award:

       Based on the technical evaluation factors and price, Paragon is recommended for
       an award for the 3rd, 4th and 12th circuits. Paragon is rated technically as good, with
       a very good past performance rating, reasonably priced, and financially capable to
       receive the award in these circuits.

AR 3150. On July 28, 2016, Walden was notified that its bid had been unsuccessful. AR 3236.

First GAO Protest, Corrective Action, and Second Award
       On August 8, 2016, Walden and an additional disappointed bidder, Akal Security,
separately protested the July 28, 2016 award to Paragon at the Government Accountability Office
(“GAO”). AR 3265. Walden argued that “the agency (1) failed to properly evaluate proposals
under Technical Factors 1, 2 and 3; (2) failed to properly evaluate proposals under the Past
Performance Factor; and (3) failed to properly conduct its tradeoff and best value determinations.”
AR 3265.
        On September 23, 2016, the USMS advised GAO that it would take corrective action in
light of Walden’s and Akal’s protests: that it intended to reevaluate the technical proposals and
past performance of Walden, Akal, and Paragon, and make a new source selection decision. AR
4202. On September 27, 2016, GAO dismissed the protest as academic. AR 4204. Consistent
with the representations it made to GAO regarding corrective action, the USMS reevaluated the
proposals and conducted a comparative analysis of Akal, Paragon, and Walden’s technical
proposals and past performance. AR 4250.
       Based on this reevaluation, the TEB rated the offerors’ technical proposals as follows:

 Offeror            Factor 1             Factor 2            Factor 3             Consensus

 Akal Security   Satisfactory            Good [Green]        Good [Green]         Good [Green]
                 [Yellow]
 Paragon Systems Excellent [Blue]        Good [Green]        Good [Green]         Good [Green]


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 Walden Security    Good [Green]         Good [Green]        Good [Green]        Good [Green]



AR 4252. The TEB provided a detailed comparative analysis of Paragon’s and Walden’s technical
proposals, identified several advantages of Paragon’s proposal under Factor 1, and determined that
Paragon’s proposal under Factor 1 was “substantially technically superior to Walden’s proposal.”
AR 4255-56. The TEB found Paragon and Walden’s proposals to be substantially equal under
Factors 2 and 3. AR 4256-57.
       The agency also reevaluated the offerors’ past performance. In its initial protest, Walden
alleged that the agency had unreasonably ignored Paragon’s performance of a relevant contract
with the Social Security Administration. Upon reviewing all reference contracts provided by
Paragon and Walden, the CO determined that Walden and Paragon’s past performance ratings
were “substantially equal.” AR 4246-47.
        In light of these reevaluations, the Source Selection Authority (“SSA”) determined that
Paragon’s proposal was the best value for the Government, stating “I am convinced that the
unmatched benefits in the Paragon proposal are significant since they relate to the quality of the
CSOs assigned to protect the federal judiciary.” AR 4311. The USMS informed Paragon on
November 28, 2016, that it had once again been awarded the contracts for the 3rd, 4th, and 12th
Circuits. AR 4312.

Second GAO Protest, Corrective Action, and Third Award
        Walden and Akal again protested to GAO on December 12, 2016. Akal’s protest was
denied. AR 4879. GAO sustained Walden’s protest on the ground that, contrary to the terms of
the solicitation, the USMS had failed to give Walden the opportunity to respond to certain adverse
past performance information. AR 4902.
       In sustaining this ground of Walden’s protest, GAO reasoned:
       In sum, we find that the solicitation required that offerors be given the opportunity
       to address adverse past performance information to which they had not previously
       had an opportunity to respond, and that the agency relied on adverse past
       performance information to which Walden had not been given the opportunity to
       respond in its evaluation. Given that according to the agency, consideration of this
       information prevented it from forming a high expectation that Walden would
       successfully perform the required effort, we further find that there is a reasonable
       possibility that Walden suffered competitive prejudice as a result of the agency’s
       failure to give it the opportunity to respond. (We note in this connection that a high
       expectation of successful performance would have resulted in a past performance
       rating of exceptional, which exceeds Paragon’s past performance rating of very
       good). As a result, we sustain Walden’s protest on this issue.

                                         *       *       *
       In sum, we sustain Walden’s protest challenge to the agency’s awards to Paragon
       for the 3rd and 4th Circuit because we find that the agency failed to provide Walden
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       the opportunity to address adverse past performance information to which it had
       not previously had an opportunity to respond. We recommend that the agency give
       Walden the opportunity to address this adverse information; reevaluate Walden’s
       past performance including its response; and make a new source selection decision.
AR 4888, 4902 (internal citations omitted).
       In implementing corrective action, on April 7, 2017, the CO sent a letter to Walden
requesting that Walden address its perceived difficulty maintaining contract performance scaling
up from FY2015 (when Walden had two circuits) to FY2016 (when Walden assumed three
additional circuits, for a total of five). AR 4904. Specifically, the CO identified the “increase in
required oversight for Walden’s program administration” due to Walden’s failure to meet
contractual deadlines for submitting completed Applicant Packages and failure in ensuring
complete and accurate medical qualification packages as areas requiring additional information.
AR 4904-05.
        Walden responded on April 17, 2017. AR 4924. Walden contended that, with regard to
the late applicant packages, it was being unfairly held responsible for packages that had carried
over from the previous contractor or were wrongly included, and for the USMS’ delays in
forwarding the packages to its central receiving center. AR 4926. Walden also contended that the
delay in medical qualification packages was due to a backlog that accumulated during the transition
from the prior contractor. AR 4928. Finally, Walden contended that the agency should have
considered the results of an April 6, 2017 performance audit, in which Walden received an
Applications score of 91% and a Medical score of 85%, the highest scores of any CSO contractor.
        In light of GAO’s decision and Walden’s response, the CO issued a revised Source
Selection Recommendation on May 12, 2017, finding that a review of Walden’s response to the
adverse past performance information “confirmed that Walden did, in fact, have difficulties in
contract performance for the areas of processing applicant packages and providing medical
qualification information in the aftermath of receiving three additional contracts in FY16.” AR
7191. The CO concluded there was “no basis for changing the USMS’ previous evaluated past
performance rating for Walden of Very Good.” Id.
        Specifically, the CO found that Walden’s response reinforced the USMS’s finding that
“[s]ince the acquisition of these three additional circuits USMS program offices have observed
some difficulty from Walden in areas of program administration” and that while “Walden has
successfully performed the required efforts for the last three years . . . this record of performance
has demonstrated areas of weakness and risk by trending down in maintaining administrative
performance with increased contract loads.” AR 7179. To support this conclusion, the CO pointed
to Walden’s own responses to the initial evaluations:
       While Walden may dispute individual data points in the USMS’s source material
       for analysis, the applicant package performance evaluation originally reported in
       the USMS past performance analyses and supplemental analysis stands. Walden
       has not provided any substantial factual refutation of the USMS’ original analysis.
               The USMS’s initial past performance evaluation stated,



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                      Since the acquisition of these three additional circuits USMS
                      program offices have observed some difficulty from Walden in
                      some areas of program administration, most especially in processing
                      applicant packages [and medical qualification information] on
                      deadline.
               The USMS supplemental past performance evaluation additionally stated,
                      … Walden’s performance has demonstrated capacity to successfully
                      perform the required effort without heavy USMS oversight;
                      however, this capacity has shown difficulty in maintaining
                      performance while scaling up services. Walden has required
                      comparatively heavier oversight with five (5) Circuits than they
                      required when they held one (1) to two (2) Circuits. Most of the
                      issue areas are in program administration, most especially in
                      processing applicant packages [and medical qualification
                      information] on deadline.
                      … The records show that Walden has successfully performed the
                      required efforts for the last three years, but this record of
                      performance has demonstrated areas of weakness and risk by
                      trending down in maintaining administrative performance with
                      increased contract loads. The above considerations prevent the OSC
                      from forming a high expectation that the offeror will successfully
                      perform the required effort.
       Since Walden’s response narrative and supporting exhibits have not disproven the
       analysis of Walden’s applicant package performance, it has not disproven the
       conclusions previously drawn from this analysis.
AR 7178-79.
       The CO thus confirmed her finding that Walden’s past performance was Very Good and
substantially equal to Paragon’s and that there was no basis for changing her source selection
recommendation in light of Walden’s response to the adverse information. AR 7191. The CO
noted that Paragon’s proposal included “significant and meaningful technical advantages over
Walden’s proposal” and that “based on trade-off analysis based on substantial technical superiority
and very small price differences,” detailed in the initial November 4, 2016 Source Selection
Recommendation Memorandum, Paragon should again be selected. Id.
      The Source Selection Authority ratified the CO’s recommendation in her May 18, 2017
memorandum, stating that the SSA:
       found the memorandum to be persuasive and well-documented.

                                         *      *       *
       Since this is a reaffirmation of the USMS’s original evaluation of Walden’s past
       performance as Very Good, there appears to be no rational [sic] to change my

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       previous source selection decision to award the Court Security Officer (CSO)
       contracts for the 3rd and 4th Judicial Circuits to Paragon Systems . . . . I reaffirm
       [the November 28, 2016] memorandum in its entirety.
AR 7193. In that memorandum, the SSA outlined the three criteria that led to Paragon’s superior
technical score [***], determined that Walden, Paragon, and Akal “all possess the ability to
perform the work required under the CSO contract based on their successful past performance,”
and concurred with the recommendation to award the contract to Paragon based on those two
factors and the comparatively negligible difference in price. AR 4307-11.
      On May 19, 2017, the USMS again awarded the contract for the 3rd and 4th Circuits to
Paragon; Walden again protested the decision to GAO.

Third GAO Protest
        Walden returned to GAO for a third time on May 30, 2017. AR 7225. Walden contended
that the agency failed to adequately consider Walden’s responses to adverse past performance
information, incorrectly concluded that Paragon had substantially equal past performance, and
rendered an unreasonable best-value tradeoff and source selection decision. Id.
        On August 31, 2017, GAO denied Walden’s third protest, finding that the USMS had
adequately considered Walden’s response to adverse past performance information with respect to
applicant package lateness and quality assurance. For the late application packages, GAO found
that the contracting officer “either acknowledged the data errors noted by Walden, or accepted (for
purposes of her own analysis) the submission dates asserted in Walden’s response” and concluded,
based on the data Walden provided, that both the number of late applicant packages and the number
of late days had increased. AR 7428. For the quality assurance issues, GAO found that Walden
continued to fail to submit complete medical qualification information, requiring further follow-
up by the USMS, and did not “refute the quality assurance issues identified by the agency.” AR
7430.

The Instant Protest
        On September 11, 2017, Walden filed its complaint in this Court seeking declaratory and
injunctive relief, and Paragon intervened. The USMS agreed to delay the transition, permitting
Paragon to begin work on November 22, 2017, and later extended that date until November 30,
2017. The Court orally denied the protest on November 9, 2017.

       Supplementation of the AR
        On September 26, 2017, Walden moved to supplement the Administrative Record with the
declaration of five Walden personnel relating to the audit of Walden’s performance as the
incumbent contractor in several Judicial Circuits, conducted in April 2017, or alternatively to take
limited depositions of USMS personnel and obtain document production, in support of its assertion
that the Government had informed Walden that its past performance was superior. The Court
denied this motion, finding that the declaration of Walden’s personnel which contained the
employees’ perceptions of the agency’s impressions of Walden’s work related in the 2017 audit



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was unnecessary for effective judicial review since the audit report itself was in the record. See
Tr. 20-21, 71; AR 5333-45.6

                                                 Discussion
Jurisdiction and Standard of Review
        This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1491(b). The Court
evaluates bid protests under the Administrative Procedure Act’s standard of review. Bannum, Inc.
v. United States, 404 F.3d 1346, 1351 (Fed. Cir. 2005) (citing Impresa Construzioni Geom.
Domenico Garufi v. United States, 238 F.3d 1324, 1332 (Fed. Cir. 2001)). This Court will not
disturb an agency’s procurement decision unless the Court finds that it was “arbitrary, capricious,
an abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A) (2012);
Adams & Assocs., Inc. v. United States, 741 F.3d 102, 105-06 (Fed. Cir. 2014). The Court will
set aside an agency’s decision as arbitrary and capricious if “the agency ‘entirely failed to consider
an important aspect of the problem, offered an explanation for its decision that runs counter to the
evidence before the agency, or [the decision] is so implausible that it could not be ascribed to a
difference in view or the product of agency expertise.’” Ala. Aircraft Indus., Inc.-Birmingham v.
United States, 586 F.3d 1372, 1375 (Fed. Cir. 2009) (alteration in original) (quoting Motor Vehicle
Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)). The Court will “uphold
a decision of less than ideal clarity if the agency’s path may reasonably be discerned.” Bowman
Transp., Inc. v. Arkansas-Best Freight Sys., Inc., 419 U.S. 281, 286 (1974). The Court will not
overturn an agency decision “even though it might, as an original proposition, have reached a
different conclusion as to the proper administration and application of the procurement
regulations” if the Court finds a reasonable basis for the agency’s action. Honeywell, Inc. v. United
States, 870 F.2d 644, 648 (Fed. Cir. 1989) (quoting M. Steinthal & Co. v. Seamans, 455 F.2d 1289,
1301 (D.C. Cir. 1971)).
        If this Court finds that the agency acted arbitrarily or capriciously or contrary to law, the
plaintiff must also show that it was prejudiced by this conduct to prevail. Bannum, 404 F.3d at
1351. This requires the plaintiff to demonstrate that there was a “substantial chance” the plaintiff
would have received the contract award but for the Government’s errors in the procurement
process. Id. at 1358. Under Rule 52.1 of the Rules of the Court of Federal Claims, the parties are
limited to the AR, and the Court makes findings of fact as if it were conducting a trial on a paper
record. See id. at 1354. Looking to the AR, the Court must determine whether a party has met its
burden of proof based on the evidence in the record. Id.

The USMS Properly Evaluated Past Performance
       In essence, Walden contends that the agency should have found its past performance to be
so far superior to that of Paragon that its past performance should have displaced Paragon’s
technical superiority and tipped the scales in favor of award to Walden. Specifically, Walden


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       On October 19, 2017, the Government advised the Court of several documents that were
omitted from the AR due to an error during compilation, and moved to correct the record. Def.’s
Mot. to Amend. A corrected AR and the Government’s corrected briefs were filed on October 26,
2017.
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argues that the agency erred in evaluating Walden’s past performance because the USMS failed
to:
        1) use “close-at-hand information” in its second performance audit in April 2017, which
           Walden contends should have given Walden a higher adjectival rating in past
           performance;
        2) properly evaluate the supplemental past performance information provided by Walden
           as part of corrective action; and
        3) give sufficient weight to Walden’s extensive experience and favorable ratings in
           providing CSOs to various district courts.
       There are two aspects to Walden’s argument that the USMS erred by failing to consider
past performance information contained in the second part of the performance review audit
conducted by the USMS between April 3-7, 2017. AR 5333-45. Walden contends that the
information contained in the audit was too close at hand for the USMS to ignore due to the overlap
between the USMS members involved in the audit and those involved in the instant procurement.
Walden posits that the positive past performance information contained in part two of the audit
would have raised its past performance score from “Very Good” to “Excellent” or at the very least
that Walden deserved a higher past performance rating than Paragon’s within the “Very Good”
range.
        The agency has broad discretion in determining which references to review when
evaluating past performance. Seattle Sec. Servs., Inc. v. United States, 45 Fed. Cl. 560, 567 (2000).
Indeed, when a Court reviews an evaluation of past performance in a procurement, “the greatest
deference possible is given to the agency – what our Court has called a ‘triple whammy of
deference.’” Gulf Grp. Inc. v. United States, 61 Fed. Cl. 338, 351 (2004) (quoting Overstreet Elec.
Co. v. United States, 59 Fed. Cl. 99, 117 (2003)); see generally Glenn Def. Marine (ASIA), PTE
Ltd. v. United States, 720 F.3d 901 (Fed. Cir. 2013) (noting that agencies are afforded “broad
discretion” in evaluating past performance).
        While an agency acts unreasonably when it fails to consider relevant information which is
“too close at hand to ignore,” the audit ratings here were not in that category. The RFP specified
that the agency could “utilize all information available at the time of the evaluation.” AR 458-59.
Because the second audit covered a period of time from August 13, 2016, until April 2017, well
after offerors were required to submit their final proposals on May 23, 2016, comparable
information had not been submitted by other offerors during the course of this procurement. To
allow Walden alone to submit new past performance references, which were received well after
the deadline in the RFP, would have exceeded GAO’s corrective action and unfairly prejudiced
other offerors that did not have the opportunity to submit more current references.
       The corrective action ordered as a result of Walden’s second GAO protest did not
encompass re-opening the past performance evaluation for all offerors or mandate a wholesale
reconsideration of the entirety of Walden’s past performance up to the moment corrective action
occurred. Rather, the corrective action ordered by GAO was very limited and only required the
agency to permit Walden to respond to two issues: Walden’s difficulty maintaining contract
performance while scaling up services from fiscal year 2015 to fiscal year 2016 and Walden’s

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failure to submit complete and accurate medical qualification packages. AR 4887-88, 4904-05.
Accordingly, the USMS did not err when it declined to consider part two audit information that
spanned a time period after the deadline for offerors’ past performance submissions.
        Walden also argues that the agency’s reliance on the results of the first audit in evaluating
Walden’s past performance opened the door for the second audit to be considered because the first
audit was also conducted after the May 23, 2016 deadline for proposals and was an interim report
while the second audit was to be considered Walden’s “official” audit results. Pl.’s Mot. J. AR
13-14. This argument is unavailing. Plaintiff has not established that the agency relied on part
one of the audit in its revised source selection recommendation. See AR 7187 (“The original
performance analysis, however, was fully formed without consideration of the PRT Report and
this supplemental analysis stands fully with or without consideration of the PRT Report.”)
        Walden’s next argument repeats a protest ground rejected by GAO - - that the USMS failed
to properly evaluate Walden’s response to refute adverse past performance issues. Walden avers
that, had the agency properly considered all the responsive information it submitted, it would have
noted that most of the delays cited were accountable to outlier data points from applications
previously ignored by a former contractor, as well as difficulties in recruiting CSOs in two of the
new circuits which Walden took on for fiscal year 2016. Pl.’s Mot. J. AR 17-18. Contrary to
Walden’s argument, both the CO’s source selection recommendation memorandum (AR 7173)
and the SSA’s independent analysis (AR 7193) demonstrate that the agency reviewed and
considered all of the material submitted by Walden. Walden points out that the USMS reported a
total of 689 days late across 29 applicants, resulting in an average of 24 days late per applicant,
but that 369 of those days are attributable to one application, while an additional 70 days are
attributable to a second application. Pl.’s Mot. J. AR 17. In Walden’s view, disregarding those
two “outlier” applications results in only nine average days late for the remaining 27 applicants.
Id. However, as GAO found, considering Walden’s response, the USMS properly determined that
Walden’s average number of late days increased from fiscal year 2015 to fiscal year 2016. AR
7429. GAO also considered Walden’s argument that the agency should have compared the median
values of the two data sets and found that this analysis still reflected an increase in the number of
late days for applicant packages. Id. Walden’s disagreement with the agency’s methodology in
data interpretation does not alter the rationality of the agency’s determination.
       Second, Walden argues that the agency erred in evaluating Paragon’s past performance by:
       1) not affording enough weight to Paragon’s past Social Security contract, in which
          Paragon achieved a performance rating of “satisfactory”; and
       2) overlooking Paragon’s relative lack of experience in the field of providing CSOs.
        With respect to Paragon’s performance on its Social Security contract, Walden alleges that
the past performance rating of “Satisfactory” Paragon earned on this contract is evidence of
significant performance problems on a current, relevant contract. Walden argues that, had the
USMS properly considered Paragon’s performance, it would have shown that, even if Paragon
were ultimately still deserving of an overall past performance rating of “Very Good,” Paragon and
Walden were not “essentially equal” within that tier. Pl.’s Mot. J. AR 24.



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       Contrary to Walden’s assertions, the record shows that the USMS was fully aware of
Paragon’s past performance on the Social Security contract and evaluated it in a reasonable
manner. The USMS noted that while Paragon had some issues, Paragon “proposed and
implemented corrective actions [that] have improved performance and communication barriers”
and that turnover of three different contract managers had exacerbated these issues but the current
contract manager had corrected these issues swiftly. AR 4215.
        Ultimately, there is nothing in the record to suggest that the USMS did not accurately
appraise Paragon’s performance on its Social Security contract when factoring this performance
into its overall past performance score and deciding that Paragon and Walden were essentially
equal. Paragon’s performance issues on the Social Security contract occurred in 2012-2014,
compared to Walden’s issues, which occurred closer to the time of the evaluation in 2016. As long
as the agency articulates a rational basis for rating each contractor how it did, the Court will afford
that performance evaluation deference. Gulf Grp., 61 Fed. Cl. at 351.
        Although Walden further faults the agency for failing to deem its past performance superior
due to prior CSO work, the RFP did not require specific courthouse CSO experience. Rather, the
RFP notes that the USMS will evaluate “information on past or current contracts (Federal, State,
and local government and commercial) for efforts similar to the Government requirement
performed during the last three years (maximum).” AR 459. The agency reasonably considered
work done by Paragon on contracts for DHS FPS and DHHS CIFSO as contracts which are similar
in scope, magnitude of effort, and complexity to the contracts in the instant case. AR 4211-14;
see also AR 7431-32.
        Ultimately, the record contains ample evidence that the agency carefully considered the
nature and scope of each offeror’s past performance, accounting for both the similarity of the task
required as well as the monetary value of the contract, to assess whether there was a reasonable
basis to conclude that the offeror could perform the requirement. In the instant case, the record
indicates that the USMS carefully considered all relevant past performance for both Walden and
Paragon and reached the reasonable decision that both contractors’ past performance was
essentially equal and worthy of the same adjectival rating of “Very Good.”

The USMS Reasonably Evaluated Technical Proposals
        Walden’s final argument is that the USMS over-credited Paragon’s technical proposal and
failed to properly consider the significant strengths provided by Walden’s technical proposal,
ignoring key discriminators. Walden’s arguments amount to nothing more than its disagreement
with the decision of the agency. “This Court does not sit as a super source selection authority to
second guess and re-score offerors’ proposals. Rather, it is well established that the Court should
not substitute its judgment to assess the relative merits of competing proposals in a government
procurement.” AshBritt, Inc. v. United States, 87 Fed. Cl. 344, 367 (2009) (citing R & W
Flammann GmbH v. United States, 339 F.3d 1320, 1322 (Fed. Cir. 2003)). Offerors’ technical
proposals were to be rated on three criteria: Recruitment and Vetting Applicants, Training and
Qualifications Program, and Quality Assurance/Quality Control Plan. AR 472-74. In each of
these areas, Walden achieved a rating of “Good” and earned an overall Technical rating of “Good.”
AR 3136. Paragon also received ratings of “Good” in the Training and Qualifications Program
and Quality Assurance/Quality Control Plan factors, as well as in its overall Technical rating.
However, in the area of Recruitment Program and Vetting Applicants, Paragon received a rating

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of “Excellent.” Id. The fact that Paragon received a higher score than Walden in this area provided
a rational discriminator for the USMS to determine that Paragon’s proposal represented a better
value than Walden’s.
       Paragon was the only offeror to warrant that it would [***], as opposed to Walden, which
would [***]. AR 4308. Paragon also proposed evaluating applicants [***]. AR 4309. The USMS
noted that this evaluation method was considered the “[***].” Id. Walden, on the other hand,
proposed [***].” Id. Paragon proposed a system where it would [***]. AR 4308. Walden
proposed [***]. Id. The USMS found Paragon’s system to be superior because, inter alia, [***].
Id. Overall, the USMS reasonably determined that although both proposals received an overall
technical adjectival rating of “Good,” Paragon’s proposal was superior to Walden’s and Akal’s
and warranted paying a slight premium for the additional benefits. AR 4309.

Walden is Not Entitled to Injunctive Relief
        In order to obtain a permanent injunction, a protestor must show that: (1) it has actually
succeeded on the merits; (2) it will suffer irreparable harm if such relief is not granted; (3) the
balance of the hardships tips in the protestor’s favor; and (4) an injunction will serve the public
interest. Centech Grp., Inc. v. United States, 554 F.3d 1029, 1037 (Fed. Cir. 2009). Because
Walden failed to succeed on the merits of its protest, the Court need not consider the other factors.
See Sci. Applications Int’l Corp. v. United States, 108 Fed. Cl. 235, 283 (Fed. Cl. 2012) (“In that
[plaintiff] has not prevailed on the merits of its substantive claims, the first hurdle prerequisite to
injunctive relief, inquiry is over.”). Accordingly, Walden is not entitled to permanent injunctive
relief.

                                                 Conclusion
      Walden’s requests for a permanent injunction, declaratory relief, and bid and proposal costs
are DENIED.
      The Clerk is directed to enter judgment on the Administrative Record in favor of
Defendant.
                                                        s/Mary Ellen Coster Williams
                                                        MARY ELLEN COSTER WILLIAMS
                                                        Judge




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